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From: Nedra
Sent: Thursday, May 30, 2024 1:03 PM
To: Emily Lambert
Subject: Re: John Todd sentencing


I am a 70 year old woman who met John when he brought his little boy (Aiden) to Sunday
School and church. I was quickly moved by John's genuine interest and kindness toward me and
my husband and in everyone he met as he also participated in our adult Bible study. We
became friends though there are many years between us. He cares about all people and
expressed that sincerely.

He expressed a deep love for his young son, and it was easy to see that Aiden adored his daddy.
John often planned fun things for Aiden and he to do together and he'd share that with me.
Please know that Aiden needs his daddy as he grows up! We don't need another young boy to
grow up without his dad in his life!

I know that John has suffered mentally as a result of his service in our military, and we don't
want another of our good men who have served our country to be tempted to take his own life!

Please consider the genuine heart goodness of John Todd and give leniency to him.

Sincerely,

Nedra Hoover
